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                        Exhibit 12

              Docket Sheet and Complaint
            Jones v. Bayer Corporation, et al.,
               No 2:23-cv-21411 (D.N.J.)
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                                                    U.S. District Court
                                        District of New Jersey [LIVE] (Newark)
                                  CIVIL DOCKET FOR CASE #: 2:23-cv-21411-ES-JBC


JONES v. BAYER CORPORATION et al                                                     Date Filed: 10/24/2023
Assigned to: Judge Esther Salas                                                      Jury Demand: Plaintiff
Referred to: Magistrate Judge James B. Clark                                         Nature of Suit: 370 Other Fraud
Cause: 28:1332 Diversity-Fraud                                                       Jurisdiction: Diversity
Plaintiff
JANET JONES                                                          represented by ALEX M. KASHURBA
                                                                                    CHIMICLES SCHWARTZ KRINER &
                                                                                    DONALDSON-SMITH LLP
                                                                                    361 W. LANCASTER AVENUE
                                                                                    HAVERFORD, PA 19041
                                                                                    610-642-8500
                                                                                    Email: amk@chimicles.com
                                                                                    ATTORNEY TO BE NOTICED


V.
Defendant
BAYER CORPORATION
Defendant
HALEON US CAPITAL LLC

Defendant
JOHNSON & JOHNSON CONSUMER INC.
Defendant
KENVUE INC.
Defendant
THE PROCTER & GAMBLE COMPANY

Defendant
RECKITT BENCKISER PHARMACEUTICALS,
INC.


Date Filed      # Docket Text
10/24/2023      1 COMPLAINT against BAYER CORPORATION, HALEON US CAPITAL LLC, JOHNSON & JOHNSON
                  CONSUMER INC., KENVUE INC., RECKITT BENCKISER PHARMACEUTICALS, INC., THE PROCTER &
                  GAMBLE COMPANY ( Filing and Admin fee $ 402 receipt number BNJDC-14817039) with JURY DEMAND,
                  filed by JANET JONES. (Attachments: # 1 Civil Cover Sheet)(KASHURBA, ALEX) (Entered: 10/24/2023)
10/25/2023         CLERK'S QUALITY CONTROL MESSAGE - Please be advised, pursuant to Fed. R. Civ. P. 7.1(a)(2), unless the
                   Court orders otherwise, in any action filed or removed to this Court, in which jurisdiction is based upon diversity
                   under 28 U.S.C. 1332(a), a party or intervenor must file a disclosure statement naming and identifying the
                   citizenship of every individual or entity whose citizenship is attributed to that party or intervenor. A party, intervenor
                   or proposed intervenor must file the disclosure statement with its first appearance, pleading, petition, motion,
                   response, or other request addressed to the Court. Click here to complete the Diversity Disclosure Statement, once
                   complete, file it using the event Diversity Disclosure Statement. (sm) (Entered: 10/25/2023)
10/25/2023         Case assigned to Judge Esther Salas and Magistrate Judge James B. Clark. (jr) (Entered: 10/25/2023)



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                            IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF NEW JERSEY


    JANET JONES, individually and on behalf of all
    others similarly situated,
                                                           CLASS ACTION COMPLAINT
                    Plaintiffs,
                                                           JURY TRIAL DEMANDED
           v.

    BAYER CORPORATION, HALEON US
    CAPITAL LLC, JOHNSON & JOHNSON
    CONSUMER INC., KENVUE INC., THE
    PROCTER & GAMBLE COMPANY, and
    RECKITT BENCKISER PHARMACEUTICALS,
    INC.,

                    Defendants.

            Plaintiff Janet Jones (“Plaintiff”), individually and on behalf of all others similarly

    situated (proposed “Class Members”), brings this action against Defendants Bayer

    Corporation, Haleon US Capital LLC, Johnson & Johnson Consumer, Inc., Kenvue Inc.,

    The Procter & Gamble Company, and Reckitt Benckiser Pharmaceuticals, Inc.,

    (“Defendants”) and alleges as follows based on her personal knowledge as to her own acts

    and on investigation conducted by counsel as to all other allegations:

                                           INTRODUCTION

           1.      On September 12, 2023, an FDA advisory panel unanimously voted 16-0 finding

    that orally administered phenylephrine (“PE”) is not effective for treating nasal congestion. 1

           2.      Defendants designed, manufactured, advertised, marketed, distributed, and sold

    orally administered PE-containing drugs which were advertised, marketed, warranted, and



1
   https://www.fda.gov/drugs/drug-safety-and-availability/fda-clarifies-results-recent-advisory-
committee-meeting-oral-phenylephrine
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 indicated as treating nasal congestion (“PE Drugs”) despite PE being totally ineffective and

 worthless in treating nasal congestion when taken orally.

         3.     PE indicated as an orally administered nasal decongestant is worthless, non-

merchantable, not fit for its ordinary purpose, and not effective for treating the indications

identified.

          4.     As a result, Defendants’ PE Drugs were misbranded and worthless or worth

 substantially less than what Plaintiff and Class Members paid for them.

          5.     Defendants’ claims were false, misleading, and contrary to scientific evidence,

 leading Plaintiff and Class Members to purchase PE Drugs which were ineffective and worthless

 for treating nasal congestion.

          6.     This case arises out of Plaintiff’s and Class Members’ purchase of Defendants’ PE

 Drugs. Plaintiff and Class Members have been injured as a result and are entitled to damages,

 restitution, and equitable relief.

                                             PARTIES

I.       PLAINTIFF

          7.     Plaintiff Janet Jones is a resident of Phoenixville, Pennsylvania. She purchased

 PE Drugs frequently seeking relief from congestion caused by severe seasonal allergies. Within

 the last year, Plaintiff Jones purchased the following PE Drugs:

           •      Mucinex Fast-Max and Mucinex Sinus-Max (designed, manufactured,
                  advertised, marketed, distributed, and sold by Defendant Reckitt Benckiser
                  Pharmaceuticals, Inc.)

           •      Vicks DayQuil Cough Congestion and Vicks NyQuil Severe Cold & Flu,
                  (designed, manufactured, advertised, marketed, distributed, and sold by
                  Defendant The Procter & Gamble Company).

           •      Theraflu (designed, manufactured, advertised, marketed, distributed, and sold by
                  Defendant Haleon US Capital LLC)

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            •       Alka-Seltzer Plus Cold & Flu (designed, manufactured, advertised, marketed,
                    distributed, and sold by Defendant Bayer Corporation)

            •       Tylenol Cold & Flu Severe (designed, manufactured, advertised, marketed,
                    distributed, and sold by Defendants Johnson & Johnson Consumer Inc. and
                    Kenvue Inc.).

           8.      All of the above PE Drugs were purchased in Pennsylvania. These PE Drugs were

    ineffective in relieving Plaintiff Jones’ congestion.

II.       DEFENDANTS

          9.      Defendant Bayer Corporation (“Bayer”) is an Indiana corporation with its principal

place of business located at 100 Bayer Blvd., Whippany, New Jersey 07981. Bayer is the American

subsidiary of Bayer AG, a multinational pharmaceutical company headquartered in Leverkusen,

Germany. Defendant Bayer Corporation designed manufactured, advertised, marketed,

distributed, and sold the PE Drug Alka-Seltzer Plus Cold & Flu. Its corporate agent is listed as the

Corporation Service Company located at 251 Little Falls Drive, Wilmington, DE 19808.

          10.     Defendant Haleon US Capital LLC (formerly GSK Consumer Healthcare Capital

US LLC and hereinafter referred to as “Haleon”) is the American subsidiary of Haleon plc. 2

Haleon plc is a British multinational consumer healthcare company headquartered in Weybridge,

England. Defendant Haleon US Capital LLC designed manufactured, advertised, marketed,

distributed, and sold the PE Drug Theraflu. Its registered agent is listed as Corporation Service

Company located at 251 Little Falls Drive, Wilmington, DE 19808. It has a principal place of

business located at 184 Liberty Corner Road, Warren, New Jersey 07059.




2
  Upon information and belief, GlaxoSmithKline’s Consumer Healthcare business was spun off
into Haleon plc in 2022. GSK transferred all liabilities and assets associated with the PE Drug
Theraflu to Haleon plc and its subsidiaries.
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        11.     Defendant Johnson & Johnson Consumer Inc., (“JJCI”) is a subsidiary of the parent

company Kenvue Inc. 3 Defendant Johnson & Johnson Consumer Inc., designed manufactured,

advertised, marketed, distributed, and sold the PE Drug Tylenol Cold & Flu Severe. Upon

information and belief, it is believed that Defendant JJCI now operates as Defendant Kenvue Inc.

Its principal place of business is located at 199 Grandview Road, Skillman, New Jersey 08558.

        12.     Kenvue Inc., is a Delaware corporation and an American consumer health company

that was formerly the consumer healthcare division of the conglomerate Johnson & Johnson. In

May 2023, Johnson & Johnson transferred all assets and liabilities of its Consumer Health Business

to Defendant Kenvue Inc., which included the brand “Tylenol.” Defendant Kenvue Inc., designed

manufactured, advertised, marketed, distributed, and sold the PE Drug Tylenol Cold & Flu Severe

after May 2023. Its principal place of business is located at 199 Grandview Road, Skillman, New

Jersey 08558.

        13.     Defendant Procter & Gamble Company (“P&G”) is an American multinational

consumer goods company headquartered in Cincinnati, Ohio. Defendant The Procter & Gamble

Company designed manufactured, advertised, marketed, distributed, and sold the PE Drugs Vicks

DayQuil Cough Congestion and Vicks NyQuil Severe Cold & Flu. Its registered agent is listed as

CT Corporation System located at 4400 Easton Commons Way, Suite 125, Columbus, Ohio 43219.

        14.     Defendant Reckitt Benckiser LLC (“Reckitt”) is a Delaware limited liability

corporation with its principal place of business located at 399 Interpace Parkway, P.O. Box 225,

Parsippany, New Jersey 07054. Reckitt is a wholly owned subsidiary of Reckitt Benckiser Group

PLC, a public limited company registered in England and Wales. Defendant Reckitt Benckiser


3
  In May 2023, Johnson & Johnson transferred all liabilities and assets of the Consumer Health
Business to Kenvue, which included the brand Tylenol. Therefore, all assets and liabilities
associated with the PE Drug Tylenol are now owned by Defendant Kenvue.
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LLC manufactured, advertised, marketed, distributed, and sold the PE Drugs Mucinex Fast-Max

and Mucinex Sinus-Max. Reckitt sells the PE Drugs nationwide, including in Pennsylvania.

                                     JURISDICTION AND VENUE

        15.     This Court has subject-matter jurisdiction pursuant to 28 U.S.C. § 1332(a) because

the matter in controversy exceeds $75,000 and is between citizens of different states.

        16.     This Court has subject-matter jurisdiction pursuant to the Class Action Fairness

Act, 28 U.S.C. § 1332(d) because (1) the matter in controversy exceeds the sum or value of

$5,000,000, exclusive of interest and costs, (2) the action is a class action, (3) there are members

of the proposed Class who are diverse from Defendants, and (4) there are more than 100 Class

Members. This Court has general personal jurisdiction over Defendants because Defendants are

residents of this state.

        17.     Venue is proper in this district pursuant to 28 U.S.C. § 1391(b)(1) because

Defendants are residents of this district.888

                                      FACTUAL ALLEGATIONS

III.    PE DRUGS

        18.     Phenylephrine (“PE”) is a specific alpha-1 adrenergic receptor agonist that works

by temporarily constricting blood vessels.

        19.     PE is an over-the-counter (OTC) ingredient marketed in both single ingredient and

combination products. It has been available in the United States more than 75 years as well as

globally.

        20.     The PE drugs at issue in this case are produced in two forms:

                a.         Phenylephrine hydrochloride

                b.         Phenylephrine bitartrate


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         21.     Phenylephrine hydrochloride was first approved on August 23, 1994. See FR Doc.

94-20456.

         22.     Phenylephrine bitartrate was first approved on August 1, 2006. See 71 FR 43358.

         23.     PE has largely been approved for the temporary relief of nasal congestion due to

the common cold, hay fever, or other respiratory allergies, or allergic rhinitis under the cough,

cold, allergy, bronchodilator, and anti-asthmatic drug products monograph (“final monograph” or

“CCABADP”).

IV.      EFFICACY OF ORALLY ADMINISTERED PE FOR NASAL DECONGESTION

         24.     On May 1, 2006, two professors at the University of Florida, Dr. Leslie Hendeles,

PharmD Professor, Pharmacy and Pediatrics, and Dr. Randy Hatton, PharmD FCCP BCPS Clinical

Professor, Department of Pharmacotherapy and Translational Research College of Pharmacy

published a letter in Journal of Allergy and Clinical Immunology titled: “Oral phenylephrine: An

ineffective replacement for pseudoephedrine?” 4 The letter questions the effectiveness of PE for

nasal congestion based upon the results of multiple double blind, placebo-controlled studies, that

show PE was no more effective than placebo in reducing nasal airway resistance. Moreover, the

letter notes that the studies relied on by the FDA to approve PE were unpublished, manufacturer-

sponsored studies conducted by commercial testing laboratories.

         25.     On February 1, 2007, three professors from the University of Florida, Leslie

Hendeles (PharmD, Professor, Department of Pharmacy and Pediatrics), Randy C. Hatton

(PharmD FCCP BCPS, Co-Director, Drug Information and Pharmacy Resource Center, College

of Pharmacy Clinical Professor) and Almut G. Winterstein (PhD, Assistant Professor, Department




4
    https://www.jacionline.org/article/S0091-6749(06)00633-6/fulltext
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of Pharmacy Healthcare Administration) filed a Citizens Petition with the FDA concerning PE

Drugs. 5

        26.    Specifically, the Petition requested the dosage of oral phenylephrine (PE) be re-

evaluated and that approval for use in children under twelve years old be withdrawn. 6 The Petition

further stated that there was no data on the safety of PE in children under twelve years old. 7

        27.    As a result of the 2007 Citizens Petition, the FDA’s Nonprescription Drugs

Advisory Committee met on December 14, 2007, and concluded that the products could continue

to be sold, but 9 of 12 of the committee members voted that “new studies on response to higher

doses were required.”8 Further, a member of the Division of Nonprescription Drug Products

expressed a preference for subjective symptom scores over objective measurement of nasal airway

resistance to support the use of PE for temporary relief of nasal congestion. 9

        28.    Schering-Plough Pharmaceuticals responded to the recommendations of the

Committee and the Division by conducting a multicenter, phase 2, parallel trial among 539 adults

with seasonal allergic rhinitis. The results of the study revealed no significant differences between

placebo and active treatment groups. 10

        29.    Another     manufacturer,     McNeil      Consumer      Healthcare,    conducted    a

pharmacokinetic, safety and cardiovascular tolerability study of PE. Similarly, this study revealed

no difference in safety endpoints between placebo and 10, 20 and 30 mg of PE even though



5
  https://www.regulations.gov/docket/FDA-2007-P-0108/document
6
  https://www.regulations.gov/docket/FDA-2007-P-0108/document
7
  https://www.regulations.gov/docket/FDA-2007-P-0108/document
8
       https://truthinadvertising.org/wp-content/uploads/2023/02/Hatton-Hendeles-2015-Citizens-
Petition-re-oral-phenylephrine.pdf
9
       https://truthinadvertising.org/wp-content/uploads/2023/02/Hatton-Hendeles-2015-Citizens-
Petition-re-oral-phenylephrine.pdf
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       https://truthinadvertising.org/wp-content/uploads/2023/02/Hatton-Hendeles-2015-Citizens-
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systemic exposure increased disproportionately with dose. According to the petitioners, “This is

noteworthy since both the relief of congestion and systemic endpoints such as change in blood

pressure and pulse are mediated by alpha adrenergic stimulation. The absence of a significant

effect on the latter at the higher doses suggest that the concentrations reached are not sufficient to

stimulate alpha adrenergic receptors.” 11

        30.    On November 4, 2015, yet another Citizens Petition was filed by two professors at

the University of Florida, Dr. Leslie Hendeles, PharmD Professor, Pharmacy and Pediatrics, and

Dr. Randy Hatton, PharmD FCCP BCPS Clinical Professor, Department of Pharmacotherapy and

Translational Research College of Pharmacy. The petition asked the FDA “to remove oral

phenylephrine from the Final Monograph for OTC nasal decongestant products.” Specifically, the

petition asked the FDA to remove Phenylephrine and to remove phenylephrine bitartrate (PEB),

“both individually and in combination drug products in an effervescent dosage form.” 12

         31.   According to the 2015 Citizens Petition, “Two additional studies published in 2009

provide further evidence of the absence of a decongestant effect from the FDA-approved

nonprescription dose of 10 mg. Horak et al conducted a 3-way crossover, placebo-controlled study

of the nasal decongestant effect of single doses of PE 12 mg, pseudoephedrine 60 mg or placebo

among 39 grass-sensitive adults exposed to grass pollen in the Vienna Challenge Chamber. PE

was not significantly different from placebo in the mean change in subjective nasal congestion

scores whereas pseudoephedrine, a positive control in the study, decreased congestion significantly

greater than placebo and PE.




11
       https://truthinadvertising.org/wp-content/uploads/2023/02/Hatton-Hendeles-2015-Citizens-
Petition-re-oral-phenylephrine.pdf
12
       https://truthinadvertising.org/wp-content/uploads/2023/02/Hatton-Hendeles-2015-Citizens-
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         32.   The 2015 Citizens Petition was further supported by the American Academy of

Allergy, Asthma & Immunology. 13

         33.   On information and belief, at this time, Defendants did not do additional testing and

quality oversight of their PE Drugs to ascertain the true effectiveness for treating nasal congestion,

or deliberately suppressed or avoided doing so. Had they done so and disclosed the results, the

data would lead to the same inexorable conclusion reached on September 12, 2023, by an FDA

Advisory Panel: PE administered orally is not effective for treating nasal congestion at all.

         34.   On September 12, 2023, the FDA Advisory Panel on the Division of

Nonprescription Drugs recommended that PE Drugs not be sold due to lack of efficacy. 14

         35.   In the FDA’s Briefing Document regarding the hearing that took place on

September 11-12, 2023, the FDA notes that it has been reviewing the clinical studies on the

efficacy of PE since the 2007 Citizens Petition.15

         36.   The Advisory Panel concluded:

               In accordance with the effectiveness standard for determining that a
               category of over-the-counter (OTC) drugs is generally recognized
               as safe and effective that is set forth in 21 CFR § 330.10(a)(4)(ii),
               which defines effectiveness as: “a reasonable expectation that, in a
               significant proportion of the target population, the pharmacological
               effect of the drug, when used under adequate directions for use and
               warnings against unsafe use, will provide clinically significant relief
               of the type claimed”, we have now come to the initial conclusion
               that orally administered PE is not effective as a nasal decongestant
               at the monographed dosage (10 mg of PE hydrochloride every 4
               hours) as well as at doses up to 40 mg (dosed every 4 hours). 16




13
         https://college.acaai.org/wp-content/uploads/2022/05/oral-phenylephrine-final-statement-
insupport-of-citizens-petition-05-4-22.pdf
14
   https://www.fda.gov/media/171915/download
15
   Id.
16
   Id.
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           37.         The Advisory Panel met for two days on September 11-12, 2023. During

 this meeting, FDA scientists presented the results of five studies conducted over the past two

 decades         on the effectiveness of oral phenylephrine. All the studies concluded that the

 decongestant was no more effective than a placebo. The Advisory Panel further reevaluated the

 initial findings which supported PE Drugs’ use and found that the results were inconsistent, did

 not meet modern study design standards and further that these studies may have data integrity

 issues:

                   “In conclusion, we do believe that the original studies were
                   methodologically unsound and do not match today’s standard. By
                   contrast, we believe the new data are credible and do not provide
                   evidence that oral phenylephrine is effective as a nasal
                   decongestant,” said Dr. Peter Starke, an FDA official who led the
                   review of phenylephrine.17

       38.         At the conclusion of the meetings, members voted unanimously (16-0) that PE

drugs were ineffective, paving the way for the drugs to be removed from the market.

       39.         Following this vote by the Advisory Panel, the FDA will now need to decide

whether PE Drugs can still be sold and whether drugs should lose their designation as Generally

Recognized as Safe and Effective (GRASE).

V.     MISBRANDED DRUGS ARE ILLEGAL AND WORTHLESS

       40.         Any drug not manufactured in accordance with cGMPs is deemed “adulterated” or

“misbranded” and may not be distributed or sold in the United States. See 21 U.S.C. §§ 331(a),

351(a)(2)(B). States have enacted laws adopting or mirroring these federal standards.

       41.         A drug is misbranded 18:

                  a.       “If its labeling is false or misleading in any particular”;

17
                 https://www.nbcnews.com/health/health-news/fda-panel-says-common-counter-
decongestantphneylephrine-doesnt-work-rcna104424
18
   21 U.S.C. § 352
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              b.      “If any word, statement, or other information required … to appear on the
                      label or labeling is not prominently placed thereon…in such terms as to
                      render it likely to be read and understood by the ordinary individual under
                      customary conditions of purchase and use”;

              c.      If the labeling does not contain, among other things, “the proportion of each
                      active ingredient”;

              d.      “Unless its labeling bears (1) adequate directions for use; and (2) such
                      adequate warnings … against unsafe dosage or methods or duration of
                      administration or application, in such manner and form, as are necessary for
                      the protection of users”;

              e.      “If it purports to be a drug the name of which is recognized in an official
                      compendium, unless it is packaged and labeled as prescribed therein”;

              f.      “if it is an imitation of another drug”;

              g.      “if it is offered for sale under the name of another drug”;

              h.      “If it is dangerous to health when used in the dosage or manner, or with the
                      frequency or duration prescribed, recommended, or suggested in the
                      labeling thereof”;

              i.      If the drug is advertised incorrectly in any manner; and/or

              j.      If the drug’s “packaging or labeling is in violation of an applicable
                      regulation.”

       42.     The manufacture and sale of any misbranded drug is prohibited under federal law.

21 U.S.C. § 331(g). The introduction into commerce of any misbranded drug is also prohibited. 21

U.S.C. § 331(a).

       43.     Similarly, the receipt in interstate commerce of any misbranded or misbranded drug

is also unlawful. 21 U.S.C. § 331(c).

       44.     As articulated in this Complaint, Defendants’ sale of PE Drugs that were not

effective for treating the indications identified were misbranded in violation of the above-cited

reasons.


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       45.     References to federal law in this Complaint are not an attempt to enforce it, but to

demonstrate that Plaintiffs’ state-law tort claims do not impose any additional obligations on any

Defendants, beyond what is already required of them under federal law.

       46.     A manufacturer must give adequate directions for the use of a pharmaceutical drug

so that a “layman can use a drug safely and for the purposes for which it is intended,” 21 C.F.R. §

201.5, and conform to requirements governing the appearance of the label, 21 C.F.R. § 801.15..

       47.     “Labeling” encompasses all written, printed or graphic material accompanying the

drug or device, and therefore broadly includes nearly every form of promotional activity, including

not only “package inserts” but also advertising. 65 FR 14286.

       48.     Because the labels on Defendants’ PE drugs indicate that PE can be used to treat

nasal congestion, the subject drugs were misbranded.

       49.     It is unlawful to introduce a misbranded drug into interstate commerce. Thus, the

PE Drugs ingested by Plaintiff were unlawfully distributed and sold.

VI.    PLAINTIFF AND CLASS MEMBERS HAVE BEEN
       INJURED BY DEFENDANTS’ CONDUCT

       50.     Each Defendant made and breached express and implied warranties and made

affirmative misrepresentations and omissions to consumers about their PE Drugs.

       51.     Plaintiff and Class Members’ causes of action accrued on the date the FDA

announced that PE was not effective at treating the indications identified in Defendants’ PE Drug

labeling and packaging, that is, September 12, 2023.

       52.     Alternatively, any statute of limitations or prescriptive period is equitably tolled

because of fraudulent concealment. Each Defendant affirmatively concealed from Plaintiff and

Class Members its unlawful conduct. Each Defendant affirmatively strove to avoid disclosing their



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knowledge of the ineffectiveness of their respective PE Drugs for treating the indications identified,

and that such products were misbranded.

          53.   For instance, Defendants did not reveal to the public that their PE Drugs were not

effective at treating the indications identified, despite their superior knowledge and position as the

manufacturer or seller of the PE Drugs.

          54.   To the contrary, Defendants continued to represent and warrant that their PE Drugs

were effective for treating the indications identified, principally nasal decongestion.

          55.   Because of this, Plaintiff and Class Members did not discover, nor could they have

discovered through reasonable and ordinarily diligence, Defendants’ deceptive, fraudulent, and

unlawful conduct alleged herein. Defendants’ false and misleading explanations, or obfuscations,

lulled Plaintiff and Class Members into believing that the prices paid for their PE Drugs were

appropriate for what they believed to be non-misbranded drugs despite their exercise of reasonable

and ordinary diligence.

          56.   As a result of each Defendants’ affirmative and other acts of concealment, any

applicable statute of limitations affecting the rights of Plaintiff and Class Members has been tolled.

Plaintiff and Class Members exercised reasonable diligence by among other things promptly

investigating and bringing the allegations contained herein. Despite these or other efforts, Plaintiff

and Class Members were unable to discover, and could not have discovered, the unlawful conduct

alleged herein at the time it occurred or at an earlier time so as to enable this complaint to be filed

sooner.

                                     CLASS ALLEGATIONS

          57.   This action is brought as a class action pursuant to Fed. R. Civ. P. 23.

          58.   The proposed Class is defined as follows:


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                Nationwide Class: All individuals and entities in the United States
                and its territories and possessions who paid any amount of money
                for any Defendants’ PE Drugs (intended for personal or household
                use).

                Pennsylvania Subclass: All individuals and entities in
                Pennsylvania who paid any amount of money for PE Drugs
                (intended for personal or household use).

                New Jersey Subclass: All individuals and entities in New Jersey
                who paid any amount of money for PE Drugs (intended for
                personal or household use).

       59.     The proposed Class excludes the following: Defendants, its affiliates, and its current

and former employees, officers and directors, and the Judge assigned to this case.

       60.     The definition of the proposed Class may be modified, changed, or expanded based

upon discovery and further investigation.

       61.     Numerosity: The proposed Class is so numerous that joinder of all members is

impracticable. The proposed Class may be ascertained through business records.

       62.     Commonality: Questions of law or fact common to the proposed Class include,

without limitation:

               a.     Whether the PE Drugs are defective;

               b.     Whether a reasonable consumer would consider the misbranding of the
                      PE Drugs to be material;

               c.     Whether Defendants knew or should have known that the PE Drugs
                      were misbranded;

               d.     Whether Defendants failed to disclose that the PE Drugs were misbranded;

               e.     Whether Defendants concealed that the PE Drugs were misbranded;

               f.     Whether Defendants engaged in unfair or deceptive trade practices;

               g.     Whether Defendants breached an express warranty;

               h.     Whether Defendants breached an implied warranty;

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               i.      Whether Defendants engaged in fraud;

               j.      Whether Defendants breached a duty of care; and

               k.      Whether Defendants were unjustly enriched.

       63.     Typicality: Plaintiff’s claims are typical of the claims of Class Members. Plaintiff

and Class Members were injured and suffered damages in substantially the same manner, have the

same claims against Defendants relating to the same course of conduct, and are entitled to relief

under the same legal theories.

       64.     Adequacy: Plaintiff will fairly and adequately protect the interests of the proposed

Class and have no interests antagonistic to those of the proposed Class. Plaintiff’s counsel is

experienced in the prosecution of complex class actions, including actions with issues, claims, and

defenses similar to the present case.

       65.     Predominance and superiority: Questions of law or fact common to Class Members

predominate over any questions affecting individual members. A class action is superior to other

available methods for the fair and efficient adjudication of this case because individual joinder of

all members of the proposed Class is impracticable and the amount at issue for each Class Member

would not justify the cost of litigating individual claims. Should individual Class Members be

required to bring separate actions, this Court would be confronted with a multiplicity of lawsuits

burdening the court system while also creating the risk of inconsistent rulings and contradictory

judgments. In contrast to proceeding on a case-by-case basis, in which inconsistent results will

magnify the delay and expense to all parties and the court system, this class action presents far

fewer management difficulties while providing unitary adjudication, economies of scale and

comprehensive supervision by a single court. There are no difficulties that are likely to be

encountered in the management of this action that would preclude its maintenance as a class action.

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       66.      Accordingly, this class action may be maintained pursuant to Fed. R. Civ. P.

23(b)(3).

       67.      Defendants have acted, and refused to act, on grounds generally applicable to the

proposed Class, thereby making appropriate final equitable relief with respect to the proposed Class

as a whole.

       68.      Accordingly, this class action may be maintained pursuant to Fed. R. Civ. P.

23(b)(2).

                                     CAUSES OF ACTION

                                       COUNT I
                            BREACH OF EXPRESS WARRANTY
                                 (on behalf of the Class)

       69.      All preceding paragraphs are hereby incorporated by reference as though fully set

forth herein.

       70.      Defendants represented and warranted through its advertising, labeling, and other

statements that its PE Drugs were fit for their ordinary purpose, effective in treating their listed

indications, including nasal congestion, and not misbranded.

       71.      Defendants’ representations and written warranty are an express warranty within the

meaning of U.C.C. § 2-313.

       72.      All fifty States and the District of Columbia and Puerto Rico have codified and

adopted U.C.C. § 2-313: Ala. Code § 7-2-313; Alaska Stat. § 45.02.313; Ariz. Rev. Stat. Ann. § 47-

2313; Ark. Code. Ann. § 4-2-313; Cal. Com. Code § 2313; Colo. Rev. Stat. § 4-2-313; Conn. Gen.

Stat. Ann. § 42a-2-313; 6 Del. Code. § 2-313; D.C. Code. § 28:2-313; Fla. Stat. Ann. § 672.313;

Ga. Code. Ann. § 11-2-313; Haw. Rev. Stat. § 490:2-313; Idaho Code § 28-2-313; 810 Ill. Comp.

Stat. Ann. 5/2-313; Ind. Code Ann. § 26-1-2-313; Kan. Stat. Ann. § 84-2-313; Ky. Rev. Stat. Ann.


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§ 355.2-313; 11 Me. Rev. Stat. Ann. § 2-313; Md. Code. Ann. § 2-313; Mass. Gen. Law Ch. 106 §

2-313; Mich. Comp. Laws Ann. § 440.2313; Minn. Stat. Ann. § 336.2-313; Miss. Code Ann. § 75-

2-313; Mo. Rev. Stat. § 400.2-313; Mont. Code Ann. § 30-2-313; Nev. Rev. Stat. U.C.C. §

104.2313; N.H. Rev. Ann. § 382-A:2-313; N.J. Stat. Ann. § 12A:2-313; N.M. Stat. Ann. § 55- 2-

313; N.Y. U.C.C. Law § 2-313; N.C. Gen. Stat. Ann. § 25-2-313; N.D. Stat. § 41-02-313; Ohio

Rev. Code Ann. § 1302.26; Okla. Stat. tit. 12A § 2-313; Or. Rev. Stat. § 72.3130; 13 Pa. C.S. §

2313; P.R. Laws. Ann. Tit. 31, § 3841, et seq.; R.I. Gen. Laws § 6A-2-313; S.C. Code Ann. § 36-

2-313; S.D. Stat. § 57A-2-313; Tenn. Code Ann. § 47-2-313; Tex. Bus. & Com. Code Ann. § 2-

313; Utah Code Ann. § 70A-2-313; Va. Code § 8.2-313; Vt. Stat. Ann. 9A § 2-313; W. Va. Code

§ 46-2-313; Wash. Rev. Code § 62A 2-313; Wis. Stat. Ann. § 402.313; and Wyo. Stat. § 34.1-2-

313.

       73.     The PE Drugs fail to conform to Defendants’ representations that formed part of the

basis of the bargain because they are ineffective in treating nasal congestion.

       74.     Defendants breached the warranty because they are unwilling or unable to provide

a remedy for the ineffectiveness and misbranding of the PE Drugs within a reasonable time.

       75.     Defendants’ breach deprived Plaintiff and Class Members of the benefit of the

bargain.

       76.     Defendants’ attempt to disclaim or limit the warranty is unconscionable and

unenforceable under the circumstances here because Defendants knowingly and deceptively sold

ineffective and misbranded PE Drugs without informing consumers.

       77.     A gross disparity in bargaining power existed between Defendants and purchasers

of the PE Drugs.




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       78.      The essential purpose of the warranty failed because Plaintiff and Class Members

are unable to reasonably obtain a workable remedy, so Plaintiff and Class Members are entitled to

a remedy that is not limited by the terms of the warranty. U.C.C. § 2-719(2).

       79.      Plaintiff and Class Members have complied with all obligations under the warranty

or otherwise have been excused from performance of said obligations as a result of Defendants’

conduct described herein.

       80.      Plaintiff and Class Members were the intended third-party beneficiaries of a

Defendants’ contracts with suppliers, manufacturers, resellers, and distributors of the PE Drugs as

Plaintiff and Class Members were the intended end users of the PE Drugs.

       81.      As a direct and proximate result of Defendants’ conduct, Plaintiff and Class

Members have been injured and sustained damages.

                                        COUNT II
                             BREACH OF IMPLIED WARRANTY
                                  (on behalf of the Class)

       82.      All preceding paragraphs are hereby incorporated by reference as though fully set

forth herein.

       83.      Defendants impliedly warranted that its PE Drugs were fit for their ordinary purpose,

effective in treating their listed indications, including nasal congestion, and not misbranded.

       84.      Defendants’ sale of the PE Drugs created an implied warranty within the meaning

of U.C.C. § 2-314.

       85.      All fifty States and the District of Columbia and Puerto Rico have codified and

adopted U.C.C. § 2-314: Ala. Code § 7-2-314; Alaska Stat. § 45.02.314; Ariz. Rev. Stat. Ann. § 47-

2314; Ark. Code. Ann. § 4-2-314; Cal. Com. Code § 2314; Colo. Rev. Stat. § 4-2-314; Conn. Gen.

Stat. Ann. § 42a-2-314; 6 Del. Code. § 2-314; D.C. Code. § 28:2-314; Fla. Stat. Ann. § 672.314;


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Ga. Code. Ann. § 11-2-314; Haw. Rev. Stat. § 490:2-314; Idaho Code § 28-2-314; 810 Ill. Comp.

Stat. Ann. 5/2-314; Kan. Stat. Ann. § 84-2-314; Ky. Rev. Stat. Ann. § 355.2-314; La. Civ. Code

Art. 2520; 11 Me. Rev. Stat. Ann. § 2-314; Md. Code. Ann. § 2-314; Mass. Gen. Law Ch. 106 § 2-

314; Mich. Comp. Laws Ann. § 440.2314; Minn. Stat. Ann. § 336.2-314; Miss. Code Ann. § 75-2-

314; Mo. Rev. Stat. § 400.2-314; Mont. Code Ann. § 30-2-314; Nev. Rev. Stat. U.C.C. § 104.2314;

N.H. Rev. Ann. § 382-A:2-314; N.J. Stat. Ann. § 12A:2-314; N.M. Stat. Ann. § 55- 2-314; N.Y.

U.C.C. Law § 2-314; N.C. Gen. Stat. Ann. § 25-2-314; N.D. Stat. § 41-02-314; Ohio Rev. Code

Ann. § 1302.27; Okla. Stat. tit. 12A § 2-314; Or. Rev. Stat. § 72.3140; 13 Pa. C.S. § 2314; P.R.

Laws. Ann. Tit. 31, § 3841, et seq.; R.I. Gen. Laws § 6A-2-314; S.C. Code Ann. § 36- 2-314; S.D.

Stat. § 57A-2-314; Tenn. Code Ann. § 47-2-314; Tex. Bus. & Com. Code Ann. § 2- 314; Utah Code

Ann. § 70A-2-314; Va. Code § 8.2-314; Vt. Stat. Ann. 9A § 2-314; W. Va. Code § 46-2-314; Wash.

Rev. Code § 62A 2-314; Wis. Stat. Ann. § 402.314; and Wyo. Stat. § 34.1-2- 314.

       86.    The PE Drugs are unmerchantable, not fit for their ordinary purpose, and do not

conform to standards generally applicable for such drugs because they are ineffective in treating

nasal congestion.

       87.    Defendants breached the warranty because they are unwilling or unable to provide

a remedy for the ineffectiveness and misbranding of the PE Drugs within a reasonable time.

       88.    Defendants’ breach deprived Plaintiff and Class Members of the benefit of the

bargain.

       89.    Defendants’ attempt to disclaim or limit the warranty is unconscionable and

unenforceable under the circumstances here because Defendants knowingly and deceptively sold

ineffective and misbranded PE Drugs without informing consumers.




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       90.      A gross disparity in bargaining power existed between Defendants and purchasers

of the PE Drugs.

       91.      The essential purpose of the warranty failed because Plaintiff and Class Members

are unable to reasonably obtain a workable remedy, so Plaintiff and Class Members are entitled to

a remedy that is not limited by the terms of the warranty. U.C.C. § 2-719(2).

       92.      Plaintiff and Class Members have complied with all obligations under the warranty

or otherwise have been excused from performance of said obligations as a result of Defendants’

conduct described herein.

       93.      Plaintiff and Class Members were the intended third-party beneficiaries of a

Defendants’ contracts with suppliers, manufacturers, resellers, and distributors of the PE Drugs as

Plaintiff and Class Members were the intended end users of the PE Drugs.

       94.      As a direct and proximate result of Defendants’ conduct, Plaintiff and Class

Members have been injured and sustained damages.

                                      COUNT III
                            MAGNUSON-MOSS WARRANTY ACT
                                 15 U.S.C. § 2301 et seq.
                                 (on behalf of the Class)

       95.      All preceding paragraphs are hereby incorporated by reference as though fully set

forth herein.

       96.      Defendants expressly and impliedly warranted the PE Drugs and breached these

warranties, as alleged above.

       97.      Defendants’ breach of these warranties is a violation of the Magnuson-Moss

Warranty Act, 15 U.S.C. § 2301 et seq.

       98.      As a direct and proximate result of Defendants’ conduct, Plaintiff and Class

Members have been injured and sustained damages.

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       99.      Plaintiff and Class Members are entitled to an award of damages and attorneys’ fees

and costs pursuant to 15 U.S.C. § 2310(d)(2).

                                          COUNT IV
                                            FRAUD
                                     (on behalf of the Class)

       100.     All preceding paragraphs are hereby incorporated by reference as though fully set

forth herein.

       101.     Defendants represented to Plaintiff and Class Members that the PE Drugs were

effective for treating nasal congestion and were not misbranded.

       102.     The PE Drugs are unable to treat nasal congestion as Defendants represented and

are therefore of a substantially lesser quality and value than Defendants represented.

       103.     Defendants knew that the PE Drugs could not conform to their representations

because PE is ineffective in treating nasal congestion.

       104.     Defendants mispresented, concealed, and omitted material information concerning

the effectiveness of PE.

       105.     The facts mispresented, concealed, and omitted by Defendants are material because

a reasonable consumer would have considered them to be important in deciding whether to purchase

the PE Drugs or pay a lower price.

       106.     Defendants mispresented, concealed, and omitted material information concerning

the effectiveness of the PE Drugs in order to induce Plaintiff and Class Members to purchase the

PE Drugs at a substantially higher price than what they would have paid.

       107.     Plaintiff and Class Members reasonably and justifiably relied on Defendants’

representations and advertisements when purchasing the PE Drugs.




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        108.    Plaintiff and Class Members would not have purchased the PE Drugs if they knew

that PE was not effective in treating nasal congestion, or they would have only paid substantially

less.

        109.    As a direct and proximate result of Defendants’ conduct, Plaintiff and Class

Members have been injured and sustained damages.

                                    COUNT V
                  NEGLIGENT MISREPRESENTATION AND OMISSION
                              (on behalf of the Class)

        110.    All preceding paragraphs are hereby incorporated by reference as though fully set

forth herein.

        111.    Defendants had a duty to Plaintiff and Class Members to accurately represent the

effectiveness of the PE Drugs in treating nasal congestion.

        112.    Defendants represented to Plaintiff and Class Members that the PE Drugs were

effective for treating nasal congestion and were not misbranded.

        113.    The PE Drugs are unable to treat nasal congestion as Defendants represented and

are therefore of a substantially lesser quality and value than Defendants represented.

        114.    Defendants knew that the PE Drugs could not conform to their representations

because PE is ineffective in treating nasal congestion.

        115.    Defendants mispresented, concealed, and omitted material information concerning

the effectiveness of PE.

        116.    The facts mispresented, concealed, and omitted by Defendants are material because

a reasonable consumer would have considered them to be important in deciding whether to purchase

the PE Drugs or pay a lower price.




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        117.    Defendants mispresented, concealed, and omitted material information concerning

the effectiveness of the PE Drugs in order to induce Plaintiff and Class Members to purchase the

PE Drugs at a substantially higher price than what they would have paid.

        118.    Defendants failed to exercise reasonable care in misrepresenting, concealing, and

omitting material information concerning the effectiveness of the PE Drugs, thereby breaching their

duties to Plaintiff and Class Members.

        119.    Plaintiff and Class Members reasonably and justifiably relied on Defendants’

representations and advertisements when purchasing the PE Drugs.

        120.    Plaintiff and Class Members would not have purchased the PE Drugs if they knew

that PE was not effective in treating nasal congestion, or they would have only paid substantially

less.

        121.    As a direct and proximate result of Defendants’ conduct, Plaintiff and Class

Members have been injured and sustained damages.

                                          COUNT VI
                                         NEGLIGENCE
                                     (on behalf of the Class)

        122.    All preceding paragraphs are hereby incorporated by reference as though fully set

forth herein.

        123.    Defendants had a duty to Plaintiff and Class Members to accurately represent the

effectiveness of the PE Drugs in treating nasal congestion.

        124.    Defendants represented to Plaintiff and Class Members that the PE Drugs were

effective for treating nasal congestion and were not misbranded.

        125.    The PE Drugs are unable to treat nasal congestion as Defendants represented and

are therefore of a substantially lesser quality and value than Defendants represented.


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        126.   Defendants knew that the PE Drugs could not conform to their representations

because PE is ineffective in treating nasal congestion.

        127.   Defendants mispresented, concealed, and omitted material information concerning

the effectiveness of PE.

        128.   The facts mispresented, concealed, and omitted by Defendants are material because

a reasonable consumer would have considered them to be important in deciding whether to purchase

the PE Drugs or pay a lower price.

        129.   Defendants mispresented, concealed, and omitted material information concerning

the effectiveness of the PE Drugs in order to induce Plaintiff and Class Members to purchase the

PE Drugs at a substantially higher price than what they would have paid.

        130.   Defendants failed to exercise reasonable care in misrepresenting, concealing, and

omitting material information concerning the effectiveness of the PE Drugs, thereby breaching their

duties to Plaintiff and Class Members.

        131.   Plaintiff and Class Members reasonably and justifiably relied on Defendants’

representations and advertisements when purchasing the PE Drugs.

        132.   Plaintiff and Class Members would not have purchased the PE Drugs if they knew

that PE was not effective in treating nasal congestion, or they would have only paid substantially

less.

        133.   As a direct and proximate result of Defendants’ conduct, Plaintiff and Class

Members have been injured and sustained damages.




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                                          COUNT VII
                                     NEGLIGENCE PER SE
                                     (on behalf of the Class)

       134.     All preceding paragraphs are hereby incorporated by reference as though fully set

forth herein.

       135.     Defendants had a duty to Plaintiff and Class Members to accurately represent the

effectiveness of the PE Drugs in treating nasal congestion.

       136.     Defendants’ duties arise out of, inter alia, the following state statutes enforcing the

efficacy and branding of drugs:

                a.     Alabama Code §§ 20-1-24 and -27(1);

                b.     Alaska Statutes § 17.20.290(a)(1);

                c.     Arizona Statutes §§ 32-1965(1), (2) and -1966(3);

                d.     Arkansas Code § 20-56-215(1);

                e.     California Health and Safety Code §§ 111295 and
                       111400;

                f.     Colorado Statutes §§ 25-5-403(1)(a),(b) and -414(1)(c);

                g.     Title 16, Delaware Code §§ 3302 and 3303(2);

                h.     District of Columbia Code § 48-702(2);

                i.     Florida Statutes §§ 499.005(1) and .006(3);

                j.     Georgia Code § 26-3-3(1);

                k.     Hawaii Revised Statutes §§ 328-6(1) and 14(1)(B)(ii);

                l.     Idaho Code § 37-115(a);

                m.     Chapter 410, Illinois Statutes §§ 620/3.1 and 14(a)(2)(B);

                n.     Iowa Code §§ 126.3(1) and .9(1)(c);

                o.     Kentucky Statutes § 217.175(1);

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           p.     Maryland Code, Health–General §§ 21-216(c)(5)(2) and -256(1);

           q.     Massachusetts General Laws chapter 94 §§ 186 and 190;

           r.     Minnesota Statutes §§ 151.34(1) and .35(1);

           s.     Missouri Statutes § 196.015(1);

           t.     Montana Code §§ § 50-31-305(3) and -501(1);

           u.     Nebraska Revised Statutes §§ 71-2461(2) and -2481;

           v.     Nevada Statutes § 585.520(1);

           w.     New Hampshire Revised Statutes §§ 146:1(I) and :4(V);

           x.     New Mexico Statutes §§ 26-1-3(A) and -10(A);

           y.     New York Education Law § 6811;

           z.     North Dakota Century Code §§ 19-02.1-02(1) and .1-
                  13(3);

           aa.    Ohio Code § 3715.52(A)(1);

           bb.    Oklahoma Statutes title 63 § 1-1402(a);

           cc.    Title 35, Pennsylvania Statutes § 780-113(a)(1);

           dd.    Title 21, Rhode Island General Laws § 21-3-
                  3(1);

           ee.    South Carolina Code §§ 39-23-30(a)(2)(B) and -
                  80(A)(1);

           ff.    South Dakota Code §§ 39-15-3 and -10;

           gg.    Title 18, Vermont Statutes § 4052(1);

           hh.    Virginia Code § 54.1-3457(1);

           ii.    West Virginia Code §§ 16-7-1 and -2(a)(3); and

           jj.    Wyoming Statutes §§ 35-7-111(a)(i)–(iv), (vi) and -116.


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       137.     Defendants violated these statutes by representing to Plaintiff and Class Members

that the PE Drugs were effective for treating nasal congestion and were not misbranded.

       138.     As a direct and proximate result of Defendants’ conduct, Plaintiff and Class

Members have been injured and sustained damages.

                                          COUNT VIII
                                     UNJUST ENRICHMENT
                                     (on behalf of the Class)

       139.     All preceding paragraphs are hereby incorporated by reference as though fully set

forth herein.

       140.     Defendants represented to Plaintiff and Class Members that the PE Drugs were

effective in treating nasal congestion.

       141.     The PE Drugs fail to conform to Defendants’ representations and were therefore of

a substantially lesser quality and value than Defendants represented.

       142.     Defendants knew or should have known that the PE Drugs could not conform to

their representations.

       143.     Defendants mispresented, concealed, and omitted material information concerning

the effectiveness of PE.

       144.     The facts mispresented, concealed, and omitted by Defendants are material because

a reasonable consumer would have considered them to be important in deciding whether to purchase

the PE Drugs or pay a lower price.

       145.     Defendants mispresented, concealed, and omitted material information concerning

the effectiveness of the PE Drugs in order to induce Plaintiff and Class Members to purchase the

PE Drugs at a substantially higher price than what they would have paid.




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        146.    Plaintiff and Class Members reasonably and justifiably relied on Defendants’

representations and advertisements when purchasing the PE Drugs.

        147.    Plaintiff and Class Members would not have purchased the PE Drugs if they knew

that PE was not effective in treating nasal congestion, or they would have only paid substantially

less.

        148.    Plaintiff and Class Members conferred substantial benefits on Defendants by

purchasing misbranded and ineffective PE Drugs at a premium without receiving a product that

conformed to Defendants’ representations.

        149.    Defendants knowingly and willingly accepted and enjoyed these benefits.

        150.    Defendants’ retention of these benefits would be inequitable.

        151.    As a direct and proximate result of Defendants’ conduct, Plaintiff and Class

Members have been injured and sustained damages.

                                    COUNT IX
                VIOLATIONS OF STATE CONSUMER PROTECTION LAWS
                               (on behalf of the Class)

        152.    All preceding paragraphs are hereby incorporated by reference as though fully set

forth herein.

        153.    Defendants represented to Plaintiff and Class Members that the PE Drugs were

effective for treating nasal congestion and were not misbranded.

        154.    The PE Drugs are unable to treat nasal congestion as Defendants represented and

are therefore of a substantially lesser quality and value than Defendants represented.

        155.    Defendants knew that the PE Drugs could not conform to their representations

because PE is ineffective in treating nasal congestion.




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        156.   Defendants mispresented, concealed, and omitted material information concerning

the effectiveness of PE.

        157.   The facts mispresented, concealed, and omitted by Defendants are material because

a reasonable consumer would have considered them to be important in deciding whether to purchase

the PE Drugs or pay a lower price.

        158.   Defendants mispresented, concealed, and omitted material information concerning

the effectiveness of the PE Drugs in order to induce Plaintiff and Class Members to purchase the

PE Drugs at a substantially higher price than what they would have paid.

        159.   Plaintiff and Class Members reasonably and justifiably relied on Defendants’

representations and advertisements when purchasing the PE Drugs.

        160.   Plaintiff and Class Members would not have purchased the PE Drugs if they knew

that PE was not effective in treating nasal congestion, or they would have only paid substantially

less.

        161.   Defendants’ conduct violates state consumer protection statutes as follows:

               a.      Defendants engaged in unfair competition or unfair or deceptive acts or
                       practices in violation of Ala. Code § 8-19-1, et seq.;

               b.      Defendants engaged in unfair competition or unfair or deceptive acts or
                       practices in violation of Alaska Stat. § 45.50.471, et seq.;

               c.      Defendants engaged in unfair competition or unfair or deceptive acts or
                       practices in violation of Arizona Rev. Stat. § 44-1522, et seq.;

               d.      Defendants engaged in unfair competition or unfair or deceptive acts or
                       practices in violation of Ark. Code § 4-88-101, et seq.;

               e.      Defendants violated the California Unfair Competition Law by engaging in
                       unfair or deceptive acts or practices in violation of Cal. Bus. Prof. Code §
                       17200, et seq.;

               f.      Defendants violated the California Consumers Legal Remedies Act, Cal.
                       Civ. Code § 1750, et seq.;

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           g.     Defendants violated the California False Advertising Law, Cal. Bus. & Prof.
                  Code § 17500, et seq.;

           h.     Defendants engaged in unfair competition or unfair or deceptive acts or
                  practices in violation of Colo. Rev. Stat. § 6-1-105, et seq.;

           i.     Defendants engaged in unfair competition or unfair or deceptive acts or
                  practices in violation of Conn. Gen. Stat. § 42-110b, et seq.;

           j.     Defendants engaged in unfair competition or unfair or deceptive acts
                  or practices in violation of 6 Del. Code § 2511, et seq.;

           k.     Defendants engaged in unfair competition or unfair or deceptive acts
                  or practices in violation of D.C. Code § 28-3901, et seq.;

           l.     Defendants engaged in unfair competition or unfair or deceptive acts
                  or practices in violation of Fla. Stat. § 501.201, et seq.;

           m.     Defendants engaged in unfair competition or unfair or deceptive acts
                  or practices in violation of Ga. State 10-1-392, et seq.;

           n.     Defendants engaged in unfair competition or unfair or deceptive acts
                  or practices in violation of Haw. Rev. Stat. § 480, et seq.;

           o.     Defendants engaged in unfair competition or unfair or deceptive acts
                  or practices in violation of Idaho Code § 48-601, et seq.;

           p.     Defendants engaged in unfair competition or unfair or deceptive acts
                  or practices in violation of 815 ILCS 505/1, et seq.;

           q.     Defendants engaged in unfair competition or unfair or deceptive acts
                  or practices in violation of Ind. Code Ann. § 24-5-0.5.1, et seq.;

           r.     Defendants engaged in unfair competition or unfair or deceptive acts
                  or practices in violation of Iowa Code Ann. § 714H, et seq.;

           s.     Defendants engaged in unfair competition or unfair or deceptive acts
                  or practices in violation of Kan. Stat. § 50-623, et seq.;

           t.     Defendants engaged in unfair competition or unfair or deceptive acts
                  or practices in violation of Ky. Rev. Stat. § 367.110, et seq.;

           u.     Defendants engaged in unfair competition or unfair or deceptive acts
                  or practices in violation of La. Rev. Stat. § 51:1401, et seq.;


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           v.     Defendants engaged in unfair competition or unfair or deceptive acts
                  or practices in violation of 5 Me. Rev. Stat. § 207, et seq.;

           w.     Defendants engaged in unfair competition or unfair or deceptive acts
                  or practices in violation of Md. Com. Law Code § 13-101, et seq.;

           x.     Defendants engaged in unfair competition or unfair or deceptive acts
                  or practices in violation of Mass. Gen. L. Ch. 93A, et seq.;

           y.     Defendants engaged in unfair competition or unfair or deceptive acts
                  or practices in violation of Mich. Stat. § 445.901, et seq.;

           z.     Defendants engaged in unfair competition or unfair or deceptive acts
                  or practices in violation of Minn. Stat. § 325F.67, et seq.;

           aa.    Defendants engaged in unfair competition or unfair or deceptive acts
                  or practices in violation of Miss. Code Ann. § 75-24-1, et seq.;

           bb.    Defendants engaged in unfair competition or unfair or deceptive acts
                  or practices in violation of Mo. Rev. Stat. § 407.0 10, et seq.;

           cc.    Defendants engaged in unfair competition or unfair or deceptive acts
                  or practices in violation of Mont. Code § 30-14-101, et seq.;

           dd.    Defendants engaged in unfair competition or unfair or deceptive acts
                  or practices in violation of Neb. Rev. Stat. § 59-1601, et seq.;

           ee.    Defendants engaged in unfair competition or unfair or deceptive acts
                  or practices in violation of Nev. Rev. Stat. § 598.0903, et seq.;

           ff.    Defendants engaged in unfair competition or unfair or deceptive acts
                  or practices in violation of N.H. Rev. Stat. § 358-A:1, et seq.;

           gg.    Defendants engaged in unfair competition or unfair or deceptive acts
                  or practices in violation of N.J. Stat. Ann. § 56:8-1, et seq.;

           hh.    Defendants engaged in unfair competition or unfair or deceptive acts
                  or practices in violation of N.M. Stat. Ann. § 57-12-1, et seq.;

           ii.    Defendants engaged in unfair competition or unfair or deceptive acts
                  or practices in violation of N.Y. Gen. Bus. Law § 349, et seq.;

           jj.    Defendants engaged in unfair competition or unfair or deceptive acts
                  or practices in violation of N.C. Gen. Stat. § 75-1.1, et seq.;




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           kk.    Defendants engaged in unfair competition or unfair or deceptive acts
                  or practices in violation of N.D. Cent. Code § 51-15-01, et seq.;

           ll.    Defendants engaged in unfair competition or unfair or deceptive acts
                  or practices in violation of Ohio Rev. Stat. § 1345.01, et seq.;

           mm.    Defendants engaged in unfair competition or unfair or deceptive acts
                  or practices in violation of Okla. Stat. tit. 15 § 751, et seq.;

           nn.    Defendants engaged in unfair competition or unfair or deceptive acts or
                  practices in violation of Or. Rev. Stat. § 646.605, et seq.;

           oo.    Defendants engaged in unfair competition or unfair or deceptive acts or
                  practices in violation of 73 Pa. Stat. § 201-1, et seq.;

           pp.    Defendants engaged in unfair competition or unfair or deceptive acts or
                  practices in violation of R.I. Gen. Laws § 6-13.1-1, et seq.;

           qq.    Defendants engaged in unfair competition or unfair or deceptive acts or
                  practices in violation of S.C. Code Laws § 39-5-10, et seq.;

           rr.    Defendants engaged in unfair competition or unfair or deceptive acts or
                  practices in violation of S.D. Code Laws § 37-24-1, et seq.;

           ss.    Defendants engaged in unfair competition or unfair or deceptive acts or
                  practices in violation of Tenn. Code § 47-18-101, et seq.;

           tt.    Defendants engaged in unfair competition or unfair or deceptive acts or
                  practices in violation of Tex. Bus. & Com. Code § 17.41, et seq.;

           uu.    Defendants engaged in unfair competition or unfair or deceptive acts or
                  practices in violation of Utah Code Ann. § 13-11-1, et seq.;

           vv.    Defendants engaged in unfair competition or unfair or deceptive acts or
                  practices in violation of Vt. Stat. Ann. Tit. 9, § 2451, et seq.;

           ww.    Defendants engaged in unfair competition or unfair or deceptive acts or
                  practices in violation of Va. Code § 59.1-196, et seq.;

           xx.    Defendants engaged in unfair competition or unfair or deceptive acts or
                  practices in violation of Wash. Rev. Code § 19.86.010, et seq.;

           yy.    Defendants engaged in unfair competition or unfair or deceptive acts or
                  practices in violation of W. Va. Code § 46A-6-101, et seq.;




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            zz.     Defendants engaged in unfair competition or unfair or deceptive acts or
                    practices in violation of Wis. Stat. § 100.20, et seq.;

            aaa.    Defendants engaged in unfair competition or unfair or deceptive acts or
                    practices in violation of Wyo. Stat. § 40-12-100, et seq.; and

            bbb.    Defendants engaged in unfair competition or unfair or deceptive acts or
                    practices in violation of 23 L.P.R.A. § 1001, et seq., the applicable statute
                    for the Commonwealth of Puerto Rico. As a direct and proximate result
                    of Defendants’ conduct, Plaintiffs and Class Members have been injured
                    and sustained damages.

                                  PRAYER FOR RELIEF

     WHEREFORE, Plaintiff prays for a judgment as follows:

     a.     An order certifying this action as a class action;

            b.      An order appointing Plaintiff as Class Representatives, and appointing
                    undersigned counsel as Class Counsel to represent the Class;

            c.      A declaration that Defendants are liable under each and every one of the
                    above-enumerated causes of action;

            d.      An order awarding compensatory damages, restitution, or refund of all
                    funds acquired by Defendants from Plaintiffs and Class Members as a result
                    of Defendants’ unlawful conduct as described above, including actual,
                    statutory, and punitive damages to the extent permitted by law in an amount
                    to be proven at trial;

            e.      An order awarding appropriate preliminary and final injunctive relief
                    against the conduct of Defendants as described above;

            f.      An award of attorneys’ fees, expert witness fees, and costs, as provided by
                    applicable law or as would be reasonable from any recovery of monies
                    recovered for or benefits bestowed on the Class Members;

            g.      Interest as provided by law, including but not limited to pre-judgment and
                    post-judgment interest as provided by rule or statute; and

            h.      Such other and further relief as this Court may deem just, equitable, or
                    proper.

                                      JURY DEMAND

     Plaintiff demands a trial by jury.

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Dated: October 24, 2023                    Respectfully submitted,

                                    By:    /s/ Alex M. Kashurba
                                           Steven A. Schwartz
                                           Alex M. Kashurba (NJ Bar No. 140712014)
                                           Alison G. Gushue (NJ Bar No. 034112006)
                                           Anthony A. Geyelin
                                           Marissa N. Pembroke
                                           CHIMICLES SCHWARTZ KRINER
                                           & DONALDSON-SMITH LLP
                                           361 W. Lancaster Avenue
                                           Haverford, PA 19041
                                           (610) 642-8500
                                           sas@chimicles.com
                                           amk@chimicles.com
                                           agg@chimicles.com
                                           aag@chimicles.com
                                           mnp@chimicles.com

                                           Attorneys for Plaintiffs




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JS 44 (Rev. 04/21)         Case MDL No. 3089 CIVIL
                     Case 2:23-cv-21411-ES-JBC      COVER
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The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)
I. (a) PLAINTIFFS                                                                                       DEFENDANTS
                                   Janet Jones                                                          BAYER CORPORATION, HALEON US CAPITAL LLC, JOHNSON &
                                                                                                        JOHNSON CONSUMER INC., KENVUE INC., THE PROCTER & GAMBLE
                                                                                                        COMPANY, and RECKITT BENCKISER PHARMACEUTICALS, INC.,
   (b) County of Residence of First Listed Plaintiff               Chester Cty., PA                     County of Residence of First Listed Defendant Morris Cty., NJ
                                (EXCEPT IN U.S. PLAINTIFF CASES)                                                               (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                        NOTE:      IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                   THE TRACT OF LAND INVOLVED.

   (c) Attorneys (Firm Name, Address, and Telephone Number)           Attorneys (If Known)
       Chimicles Schwartz Kriner & Donaldson-Smith LLP
       361 W. Lancaster Avenue, Haverford, PA 19041
       610-642-8500
II. BASIS OF JURISDICTION (Place an “X” in One Box Only)    III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
                                                                                                     (For Diversity Cases Only)                                    and One Box for Defendant)
  1    U.S. Government                 3   Federal Question                                                                   PTF        DEF                                         PTF      DEF
         Plaintiff                           (U.S. Government Not a Party)                     Citizen of This State            1          1      Incorporated or Principal Place         4   X4
                                                                                                                                                    of Business In This State

  2    U.S. Government              X4     Diversity                                           Citizen of Another State          X 2          2   Incorporated and Principal Place           5         5
         Defendant                           (Indicate Citizenship of Parties in Item III)                                                          of Business In Another State

                                                                                               Citizen or Subject of a             3          3   Foreign Nation                             6         6
                                                                                                 Foreign Country
IV. NATURE OF SUIT (Place an “X” in One Box Only)                                                                                  Click here for: Nature of Suit Code Descriptions.
          CONTRACT                                              TORTS                            FORFEITURE/PENALTY                       BANKRUPTCY                       OTHER STATUTES
  110 Insurance                       PERSONAL INJURY                  PERSONAL INJURY            625 Drug Related Seizure             422 Appeal 28 USC 158             375 False Claims Act
  120 Marine                          310 Airplane                    365 Personal Injury -           of Property 21 USC 881           423 Withdrawal                    376 Qui Tam (31 USC
  130 Miller Act                      315 Airplane Product                Product Liability       690 Other                                28 USC 157                        3729(a))
  140 Negotiable Instrument                Liability                  367 Health Care/                                                   INTELLECTUAL                    400 State Reapportionment
  150 Recovery of Overpayment         320 Assault, Libel &                Pharmaceutical                                               PROPERTY RIGHTS                   410 Antitrust
      & Enforcement of Judgment            Slander                        Personal Injury                                              820 Copyrights                    430 Banks and Banking
  151 Medicare Act                    330 Federal Employers’              Product Liability                                            830 Patent                        450 Commerce
  152 Recovery of Defaulted                Liability                  368 Asbestos Personal                                            835 Patent - Abbreviated          460 Deportation
       Student Loans                  340 Marine                          Injury Product                                                   New Drug Application          470 Racketeer Influenced and
       (Excludes Veterans)            345 Marine Product                  Liability                                                    840 Trademark                         Corrupt Organizations
  153 Recovery of Overpayment              Liability                 PERSONAL PROPERTY                     LABOR                       880 Defend Trade Secrets          480 Consumer Credit
      of Veteran’s Benefits
  160 Stockholders’ Suits
                                      350 Motor Vehicle
                                      355 Motor Vehicle
                                                                   X  370 Other Fraud
                                                                      371 Truth in Lending
                                                                                                  710 Fair Labor Standards
                                                                                                      Act
                                                                                                                                           Act of 2016                       (15 USC 1681 or 1692)
                                                                                                                                                                         485 Telephone Consumer
  190 Other Contract                      Product Liability           380 Other Personal          720 Labor/Management                 SOCIAL SECURITY                       Protection Act
  195 Contract Product Liability      360 Other Personal                  Property Damage             Relations                        861 HIA (1395ff)                  490 Cable/Sat TV
  196 Franchise                           Injury                      385 Property Damage         740 Railway Labor Act                862 Black Lung (923)              850 Securities/Commodities/
                                      362 Personal Injury -               Product Liability       751 Family and Medical               863 DIWC/DIWW (405(g))                Exchange
                                          Medical Malpractice                                         Leave Act                        864 SSID Title XVI                890 Other Statutory Actions
      REAL PROPERTY                     CIVIL RIGHTS                 PRISONER PETITIONS           790 Other Labor Litigation           865 RSI (405(g))                  891 Agricultural Acts
  210 Land Condemnation               440 Other Civil Rights          Habeas Corpus:              791 Employee Retirement                                                893 Environmental Matters
  220 Foreclosure                     441 Voting                      463 Alien Detainee              Income Security Act              FEDERAL TAX SUITS                 895 Freedom of Information
  230 Rent Lease & Ejectment          442 Employment                  510 Motions to Vacate                                            870 Taxes (U.S. Plaintiff             Act
  240 Torts to Land                   443 Housing/                        Sentence                                                          or Defendant)                896 Arbitration
  245 Tort Product Liability              Accommodations              530 General                                                      871 IRS—Third Party               899 Administrative Procedure
  290 All Other Real Property         445 Amer. w/Disabilities -      535 Death Penalty               IMMIGRATION                           26 USC 7609                      Act/Review or Appeal of
                                          Employment                  Other:                      462 Naturalization Application                                             Agency Decision
                                      446 Amer. w/Disabilities -      540 Mandamus & Other        465 Other Immigration                                                  950 Constitutionality of
                                          Other                       550 Civil Rights                Actions                                                                State Statutes
                                      448 Education                   555 Prison Condition
                                                                      560 Civil Detainee -
                                                                          Conditions of
                                                                          Confinement
V. ORIGIN (Place an “X” in One Box Only)
X 1 Original       2 Removed from                           3      Remanded from             4 Reinstated or             5 Transferred from       6 Multidistrict                    8 Multidistrict
       Proceeding           State Court                            Appellate Court             Reopened                    Another District           Litigation -                     Litigation -
                                                                                                                           (specify)                  Transfer                         Direct File
                                       Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
                      28 U.S.C. § 1332(d)
VI. CAUSE OF ACTION Brief description of cause:
                       Violations of state consumer protection and common laws for unlawful sale of consumer product
VII. REQUESTED IN     X CHECK IF THIS IS A CLASS ACTION      DEMAND $                CHECK YES only if demanded in complaint:
     COMPLAINT:          UNDER RULE 23, F.R.Cv.P.                                    JURY DEMAND:         X Yes       No
VIII. RELATED CASE(S)                                                                             2:23-cv-20370-KM-JSA
                       (See instructions):
      IF ANY                                JUDGE Hon. Kevin McNulty             DOCKET NUMBER 2:23-cv-20743-KM-JSA
DATE                                                                   SIGNATURE OF ATTORNEY OF RECORD
        October 24, 2023
FOR OFFICE USE ONLY

  RECEIPT #                     AMOUNT                                    APPLYING IFP                                   JUDGE                           MAG. JUDGE
                  Case 2:23-cv-21411-ES-JBC
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                     INSTRUCTIONS FOR ATTORNEYS COMPLETING CIVIL COVER SHEET FORM JS 44
                                                               Authority For Civil Cover Sheet

The JS 44 civil cover sheet and the information contained herein neither replaces nor supplements the filings and service of pleading or other papers as
required by law, except as provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is
required for the use of the Clerk of Court for the purpose of initiating the civil docket sheet. Consequently, a civil cover sheet is submitted to the Clerk of
Court for each civil complaint filed. The attorney filing a case should complete the form as follows:

I.(a)    Plaintiffs-Defendants. Enter names (last, first, middle initial) of plaintiff and defendant. If the plaintiff or defendant is a government agency, use
         only the full name or standard abbreviations. If the plaintiff or defendant is an official within a government agency, identify first the agency and then
         the official, giving both name and title.
  (b)    County of Residence. For each civil case filed, except U.S. plaintiff cases, enter the name of the county where the first listed plaintiff resides at the
         time of filing. In U.S. plaintiff cases, enter the name of the county in which the first listed defendant resides at the time of filing. (NOTE: In land
         condemnation cases, the county of residence of the "defendant" is the location of the tract of land involved.)
  (c)    Attorneys. Enter the firm name, address, telephone number, and attorney of record. If there are several attorneys, list them on an attachment, noting
         in this section "(see attachment)".

II.      Jurisdiction. The basis of jurisdiction is set forth under Rule 8(a), F.R.Cv.P., which requires that jurisdictions be shown in pleadings. Place an "X"
         in one of the boxes. If there is more than one basis of jurisdiction, precedence is given in the order shown below.
         United States plaintiff. (1) Jurisdiction based on 28 U.S.C. 1345 and 1348. Suits by agencies and officers of the United States are included here.
         United States defendant. (2) When the plaintiff is suing the United States, its officers or agencies, place an "X" in this box.
         Federal question. (3) This refers to suits under 28 U.S.C. 1331, where jurisdiction arises under the Constitution of the United States, an amendment
         to the Constitution, an act of Congress or a treaty of the United States. In cases where the U.S. is a party, the U.S. plaintiff or defendant code takes
         precedence, and box 1 or 2 should be marked.
         Diversity of citizenship. (4) This refers to suits under 28 U.S.C. 1332, where parties are citizens of different states. When Box 4 is checked, the
         citizenship of the different parties must be checked. (See Section III below; NOTE: federal question actions take precedence over diversity
         cases.)

III.     Residence (citizenship) of Principal Parties. This section of the JS 44 is to be completed if diversity of citizenship was indicated above. Mark this
         section for each principal party.

IV.      Nature of Suit. Place an "X" in the appropriate box. If there are multiple nature of suit codes associated with the case, pick the nature of suit code
         that is most applicable. Click here for: Nature of Suit Code Descriptions.

V.       Origin. Place an "X" in one of the seven boxes.
         Original Proceedings. (1) Cases which originate in the United States district courts.
         Removed from State Court. (2) Proceedings initiated in state courts may be removed to the district courts under Title 28 U.S.C., Section 1441.
         Remanded from Appellate Court. (3) Check this box for cases remanded to the district court for further action. Use the date of remand as the filing
         date.
         Reinstated or Reopened. (4) Check this box for cases reinstated or reopened in the district court. Use the reopening date as the filing date.
         Transferred from Another District. (5) For cases transferred under Title 28 U.S.C. Section 1404(a). Do not use this for within district transfers or
         multidistrict litigation transfers.
         Multidistrict Litigation – Transfer. (6) Check this box when a multidistrict case is transferred into the district under authority of Title 28 U.S.C.
         Section 1407.
         Multidistrict Litigation – Direct File. (8) Check this box when a multidistrict case is filed in the same district as the Master MDL docket.
         PLEASE NOTE THAT THERE IS NOT AN ORIGIN CODE 7. Origin Code 7 was used for historical records and is no longer relevant due to
         changes in statute.

VI.      Cause of Action. Report the civil statute directly related to the cause of action and give a brief description of the cause. Do not cite jurisdictional
         statutes unless diversity. Example: U.S. Civil Statute: 47 USC 553 Brief Description: Unauthorized reception of cable service.

VII.     Requested in Complaint. Class Action. Place an "X" in this box if you are filing a class action under Rule 23, F.R.Cv.P.
         Demand. In this space enter the actual dollar amount being demanded or indicate other demand, such as a preliminary injunction.
         Jury Demand. Check the appropriate box to indicate whether or not a jury is being demanded.

VIII. Related Cases. This section of the JS 44 is used to reference related pending cases, if any. If there are related pending cases, insert the docket
      numbers and the corresponding judge names for such cases.

Date and Attorney Signature. Date and sign the civil cover sheet.
